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                  Thomas-Jensen
                   Affirmation



                      Exhibit # 76
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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND


  STATE OF NEW YORK, et al.,

  Plaintiffs,                                       C.A. No. 25-cv-39-JJM-PAS

  v.                                                DECLARATION OF
                                                    BEVERLY WALKER-
  DONALD TRUMP, et al.,                             GRIFFEA, PH.D.
                                                    (MICHIGAN)
  Defendants.
  ___________________________________


        I, Beverly Walker-Griffea, Ph.D., pursuant to 28 U.S.C. § 1746, hereby

 declare that the following is true and correct:


        1.      I am the Director of the Michigan Department of Lifelong Education,

 Advancement and Potential (MiLEAP). In this role, I oversee the Office of Early

 Childhood Education, Office of Higher Education, and Office of Education

 Partnerships. MiLEAP’s mission is to establish and implement a statewide vision

 for lifelong education from preschool to postsecondary, including expanding

 equitable access to quality, affordable programs and services and improving

 outcomes for all Michiganders in early learning and care and higher education.

        2.      I have personal knowledge of the matters set forth below or have

 knowledge of the matters based on my review of information and records gathered

 by my staff.




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  Michigan Department of Lifelong Education, Advancement and Potential

       3.       MiLEAP is state agency that focuses on preparing children for

 kindergarten and helping more people earn a skill certificate or degree post-high

 school.

       4.       MiLEAP receives approximately $600 million from the federal

 government each year.

       5.       For fiscal year 2025, MiLEAP has been award the following federal

 financial assistance through federal grant programs:


            Program name                          Associated         FY 25
                                                  Federal agency     allocation
            Child Care Development Funds          ACF                ~$490M
            IDEA Part B, 619                      US Ed              ~$14M
            IDEA Part C                           US Ed              ~$14M
            21st Century Community Learning       US Ed              ~$40M
            Centers

            Preschool Development Grant           ACF                ~$12M

            Head Start Collaboration Office       US Ed              ~$225k



       6.       MiLEAP’s budget for this year has relied on the federal funds listed

 above, and, based on the anticipated receipt of this federal funding, MiLEAP made

 plans and allocated funding for childcare providers of 42,000 children from working

 families and for MiLEAP staffing.

                               Child Care Development Funds

       7.       Child Care Development Funds are drawn down weekly from the

 federal government, with the next expected drawn down scheduled for this

 week. These funds are quickly distributed to childcare providers across Michigan

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 that provide services for approximately 42,000 children statewide. If the federal

 government prohibits the release for Child Care Development Funds, MiLEAP will

 be unable to drawn down and send out the funds to the care providers, immediately

 impacting the care providers’ ability to meet payroll and provide services for the

 42,000 children they serve.

       8.     Additionally, some MiLEAP staff are paid with a majority of Child

 Care Development Fund block grants, and a cessation of those funds will affect

 funding for those positions, in turn affecting MiLEAP’s ability to provide services to

 Michigan’s childcare providers and families.

                               Impacts of the OMB Memo

       9.     The Office of Management and Budget’s (OMB) memorandum titled

 “Memorandum for Heads of Executive Departments and Agencies,” issued on

 January 27, 2025, M-25-13, (the “OMB Memo”), immediately affected federally

 funded childcare programs in Michigan, including programs where federal funding

 flows through MiLEAP and Head Start, where federal funding flows directly to

 providers.

     Effects of the OMB Memo on programs where federal funding flows through
                                    MiLEAP

       10.    Immediately after the OMB Memo was issued, MiLEAP began hearing

 from advocates and providers of childcare programs for which federal funding flows

 through MiLEAP. Those advocates and providers expressed confusion and concern

 about MiLEAP’s ability to draw and send federal funds.




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       11.    These concerns were not without merit. The payment management

 system, in which MiLEAP draws federal funds, was shut down Tuesday, January

 28, 2025. MiLEAP was able to draw funds when it came back up on Wednesday,

 January 29, 2025.

                  Effects of the OMB Memo on Head Start Programs

       12.    Immediately after the OMB Memo was issued, MiLEAP also began

 hearing from advocates and providers of Head Start programs, which serve 30,000

 children in Michigan and in which federal funds flow directly to the providers, not

 through MiLEAP. Those advocates and providers expressed confusion and concern

 about their ability to draw federal funds.

       13.    As of the signing of this declaration, MiLEAP understands that some

 Head Start providers still have not received requested federal funds. Those

 providers have stated that, without the requested funds, they will be forced to

 immediately cease operations.

                      Impacts of a pause in federal funding

       14.    MiLEAP continues to be concerned that the funding will again be

 delayed or denied because most of our federally funded programs received a notice

 from their federal counterparts that the Court had issued a Temporary Restraining

 Order.

       15.    A pause in our federal funding would have a direct, immediate, and

 adverse impact on MiLEAP’s ability to operate the programs listed above and on




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 Michigan’s children who are the intended beneficiaries of the federal financial

 assistance that flows through these programs.

       16.    In the next month, starting on February 7, 2025, MiLEAP is scheduled

 to receive disbursements of over $40 million under our current federal grants.

       17.    If the federal funding is again paused, blocked, denied, or delayed

 suddenly, MiLEAP will be unable to send out the funds to the care providers,

 immediately impacting the care providers’ ability to meet payroll and provide

 services for the 42,000 children they serve.

       18.    Additionally, because some MiLEAP staff are paid with a majority of

 Child Care Development Fund block grants, a cessation of those funds will affect

 funding for those positions.

       19.    MiLEAP also continues to hear from advocates and providers of

 Michigan’s Head Start program. The federal funds for this program flow directly to

 the providers, not through MiLEAP. However, Head Start providers—who serve

 approximately 30,000 children in Michigan—have advised MiLEAP that if Head

 Start funding does not continue to flow to some these providers, it will immediately

 impact their operations, causing the necessary reduction of staff, reduction of

 services for children, and potential closure (permanent or temporary depending on

 the provider).




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       I declare under penalty of perjury under the laws of the United States of

 America that the foregoing is true and correct.



 Dated: February 5, 2025                       ___________________________
                                               Beverly Walker-Griffea, Ph.D.
                                               Director, MiLEAP




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